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United States District Court
NOV ~ 2 2017
NORTHERN DISTRICT OF comix TEXAS
By ‘S. DISTRICT COURT
UNITED STATES OF AMERICA Depuiy
V. COMPLAINT
FREDDIE GILBERT CASE NUMBER: 3-17-MJ- 808-BN

1, the undersigned complainant being duly sworn state the following is true and correct
to the best of my knowledge and belief. On or about October 29, 2017, in the Dallas Division
of the Northern District of Texas, defendant, Freddie Gilbert did,

Knowingly possess a firearm while being a convicted felon;
in violation of Title 18, United States Code, Section(s) 922(g)(1) and 924(a)(2).

I further state that I am a Task Force Officer with Federal Bureau of Investigation (FBI)
and that this complaint is based on the following facts:

See attached Affidavit of Task Force Officer Michael Reuler which is incorporated and
made a part hereof by reference.

Continued on the attached sheet and made a part hereof: XX Yes No

   

Signature of Complainant
Michael Reuler

Task Force Officey, FBI
Sworn to before me and subscribed in my presence, on this 0] day of November, 2017, in
Dallas, Texas.

    
 

DAVID L. HORAN
UNITED STATES MAGISTRATE JUDGE 7
Name and Title of Judicial Officer Signature of Judicial Officer
 

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AFFIDAVIT IN SUPPORT OF APPLICATION FOR COMPLAINT

1. I, Michael S. Reuler, Task Force Officer (TFO) with the Federal Bureau of
Investigation (FBI), being duly sworn, depose and state as follows:

2. This affidavit sets forth facts and suggests reasonable inferences from those
facts establishing that there is probable cause to believe that on or about October 29, 2017,
in the Northern District of Texas, Freddie Gilbert knowingly and intentionally combined,
conspired, confederated and agreed with other persons, known and unknown to the United
States Attorney, to commit the following offense against the United States: to knowingly
possess a firearm while being a convicted felon, in violation of 18 U.S.C. §§ 922(g)(1) and
924(a)(2).

3. The information contained in this affidavit is based on my personal
knowledge and experience, my personal participation in this investigation, and information
obtained from other law enforcement officers and/or agents involved in this investigation.
Since this affidavit is being submitted for the limited purpose of securing an arrest warrant,
I have not included each and every fact known to me concerning this investigation. I have
set forth only the facts that I believe are necessary to establish probable cause to believe
that a violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2) has been committed by Freddie
Gilbert. |

Background on Affiant .
4. I am an “investigative or law enforcement officer of the United States”

within the meaning of 18 U.S.C. § 2510(7), that is, 1am an officer of the United States who

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is authorized by law to conduct investigations of, and make arrests, for offenses enumerated
in 18 U.S.C. § 2516.

5. I have been employed by the City of Dallas as a Police Officer for
approximately seventeen years. I have been a Gang Detective since 2006 and have been a
TFO with the FBI since 2012. I have participated in previous investigations of violent
crime related to criminal street gangs, investigations of unlawful narcotics distribution, and
unlawful possession of firearms by convicted felons and known criminal street gang
members. I have conducted or participated in physical and electronic surveillances, the
execution of search warrants, debriefing of informants, and the review of taped
conversations. Through my training, education, and experience, I have become familiar
with the manner in which illegal drugs are transported, stored, distributed, and the methods
of payments for such drugs. I am familiar with Firearms and their use by criminal street
gang members and convicted felons and the manner in which they are utilized in
furtherance of criminal activity. I am also familiar with the methods by which narcotics
traffickers communicate and the code words commonly used by narcotics traffickers.

Facts Supporting Probable Cause

6. On October 29, 2017, law enforcement officials in Kaufman County
received a call for service regarding a Deadly Conduct offense that had been committed
where the caller stated the driver of a black Hyundai had fired a round of ammunition at
their vehicle in the area of United States Highway 80 and County Road 212 in Kaufman

County.

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7. Law enforcement officials were able to locate the black Hyundai Elantra,
bearing the Texas license plate CVY7742, as it was traveling eastbound on Interstate 20,
near mile marker 503. Law enforcement officials initiated a traffic stop of the black
Hyundai Elantra by activating the emergency equipment of the marked law enforcement
vehicle. A vehicle pursuit ensued, reaching speeds up to one hundred and ten miles per
hour when the black Hyundai Elantra refused to stop.

8. The black Hyundai Elantra eventually became involved in a vehicle accident
with another vehicle on the roadway. Law enforcement officials identified the driver of
the black Hyundai Elantra as Freddie Gilbert and he was the only occupant inside the
vehicle (who was alive). Subsequent to Gilbert’s arrest, Gilbert told law enforcement
officials that the body of a girl was in the trunk of the vehicle. Law enforcement officials
found a female victim in the trunk of the vehicle as Gilbert had stated. The female victim
was observed to have a visible gunshot wound to the head by law enforcement officials.

9. Law enforcement officials also found a Taurus .38 caliber revolver, serial
number 1E85960. The revolver was located in the side-pocket of the driver’s side door.
The revolver was found to be loaded with five rounds, two of which were spent casings.

10. I have reviewed Gilbert’s criminal history and it shows that he is a
convicted felon. He has been charged with and convicted for felonies in the state of
Louisiana. Gilbert’s felony convictions are out of the Judicial District Court of Jefferson
Parish for Possession of Marijuana and Possession of a Schedule [V Dangerous Drug, To
Wit: Zolpidem (Ambien). Gilbert pled guilty to the marijuana charge in 2007 and the

possession of Zolpidem (Ambien) in 2006. Gilbert served jail time for these convictions.

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11. Based on the foregoing, together with my training and experience, I believe
that there is sufficient probable cause to believe that on October 29, 2017, Freddie Gilbert,
knowingly possessed a firearm while being a convicted felon, in violation of 18 U.S.C. §§ |
922(g)(1) and 924(a)(2). I respectfully request a warrant be issued for the arrest of

Freddie Gilbert.

 

Task Force Officer

Federal Bureau of Investigation

David L. Horan
United States Magistrate Judge
Northern District of Texas

Sworn to and subscribed before me this

  
 

, November 2017.

 

 

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